       Case 4:20-cv-05077-SMJ         ECF No. 16   filed 09/25/20   PageID.89 Page 1 of 1
                                                                                  FILED IN THE
                                                                              U.S. DISTRICT COURT
                                                                        EASTERN DISTRICT OF WASHINGTON




1                                                                       Sep 25, 2020
                                                                             SEAN F. MCAVOY, CLERK


2

3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     DAVID WELLER, individually and                No. 4:20-cv-05077-SMJ
5    on behalf of those similarly situated,

6                              Plaintiff,
                                                   ORDER GRANTING
7                 v.                               STIPULATED MOTION FOR
                                                   PROTECTIVE ORDER
8    RCS CORP.,

9                              Defendant.

10
           IT IS HEREBY ORDERED: The Parties’ Stipulated Motion for Protective
11
     Order, ECF No. 15, is GRANTED. Under Federal Rule of Civil Procedure 26(c),
12
     and for good cause, the parties’ stipulated proposed Protective Order, ECF No. 15,
13
     is APPROVED, ADOPTED, and INCORPORATED in this Order by reference.
14
           IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and
15
     provide copies to all counsel.
16
           DATED this 25th day of September 2020.
17

18                       SALVADOR MENDOZA, JR.
                         United States District Judge
19

20



     ORDER GRANTING MOTION FOR PROTECTIVE ORDER – 1
